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                        IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF VIRGINIA
                                   (Newport News Division)

 JAMES T. PARKER, II, et al.                         )
                                                     )
         Plaintiffs,                                 )
                                                     )
 v.                                                  )        Case No: 4:18-cv-00140-HCM-DEM
                                                     )
 FREEDOM MORTGAGE                                    )
 CORPORATION, et al.,                                )
                                                     )
         Defendants.                                 )
                                                     )

  CONSOLIDATED REPLY IN SUPPORT OF DEFENDANT FREEDOM MORTGAGE’S
    MOTION TO SEAL AND MOTION FOR PROTECTIVE ORDER REGARDING
                  CONFIDENTIALITY DESIGNATIONS

         Defendant Freedom Mortgage Corporation (“Freedom Mortgage”), by and through

 counsel, submits this Consolidated Reply in further support of its Motion to Seal Motion for

 Protective Order Regarding Confidentiality Designations (“Motion to Seal”) 1 and the underlying

 Motion for Protective Order Regarding Confidentiality Designations (“Motion for Protective

 Order”).

       I.         ARGUMENT IN REPLY

         Plaintiffs through their actions have made clear that they will not respect the

 confidentiality of legal documents, necessitating the instant motion.




 1
  Opposing counsel apparently filed two identical oppositions to the Motion to Seal at Docket Nos. 49 and 51, as
 well as a largely duplicative Opposition to the Motion for Protective Order at No. 50. Freedom Mortgage files this
 consolidated reply in support of both motions and in response to all three oppositions.
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           Accordingly, Plaintiffs’ interpretations as to documents which merit confidential

 treatment is undercut by

          Indeed, as Plaintiffs made clear that they would not respect the confidentiality of

 documents through their purposeless disclosure, Freedom Mortgage insisted on entry of an

 agreed protective order before it would produce its proprietary procedures manuals. After entry

 of that Order, Dkt. 20, Freedom Mortgage designated only 11 documents in its entire production

 as confidential. Indeed, these designations were the exception rather than the rule with regards

 to Freedom Mortgage’s document production.

         Despite having only protected a handful of documents, Plaintiffs indiscriminately

 objected to all designations – without explanation – and necessitated the instant motion. And

 having failed to articulate a basis for the public disclosure of these documents in a private

 commercial dispute stemming from Plaintiffs’ failure to pay $559.30 to bring their loan account

 2
                                                       was previously filed under seal at No. 39-14, p. 65.
 3
   Attached as Exhibit 1 is a true and correct copy of Plaintiffs’ Third Supplemental Rule 26(e) Disclosures which
 identify the Settlement Agreement as being produced at 002608 – 002612. (Ex. 1 at 6). In contrast, Plaintiffs merely




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 current, Plaintiffs nonetheless continue their protestations with the bare assertion that the

 documents should be public because of “public interest.” However, a review of each of the

 documents confirms that it is expressly confidential, contains confidential information, was

 treated as confidential by Freedom Mortgage, and Plaintiffs have failed to articulate any reason

 for public disclosure. Indeed, no other party has appeared to contest Freedom Mortgage’s

 Motion to Seal. Furthermore, as Freedom Mortgage’s only remedy to protect the confidential

 nature of the documents was to file the instant Motion for Protective Order to confirm its

 confidentiality designations, Freedom Mortgage needed to file a Motion to Seal to protect the

 very confidentiality of the documents at issue. As is the case with the underlying Motion for

 Protective Order, Plaintiffs fail to offer any argument against the Motion to Seal which would

 prevent this Court from sealing the motion so that the confidentiality of the underlying

 documents is protected.

        A.     Plaintiffs Fail To Articulate Any Basis For Public Disclosure Of




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         B.       Plaintiffs Fail To Articulate Any Basis For Public Disclosure Of Freedom
                  Mortgage’s Procedure Manuals

         Plaintiffs’ arguments for public disclosure of Freedom Mortgage’s ten procedures

 manuals are equally unavailing.           Plaintiffs’ discussion of the basis for entry of a general

 Protective Order is misplaced since a stipulated protective order has already been entered in this

 case. Accordingly, good cause is not the standard for determining whether the designated

 documents are entitled to confidentiality. 5 The parties already stipulated and the court confirmed

 that there was the potential for disclosure of confidential materials and trade secrets requiring

 protection in the protective order. That is the case. Each of the procedures on its face states that

 it is a proprietary document.

         Plaintiffs served a notice for a 30(b)(6) deposition, which sought testimony concerning

 “Freedom’s policies or procedures for conducting investigations of consumer credit report


 4
  The only offered authority, U.S. ex re. Davis v. Prince, 753 F. Supp. 2d 561 (E.D. Va. 2010), does not discuss
 whether a confidential settlement agreement would be subject to a protective order.
 5
   Likewise, Plaintiffs’ arguments that the procedures were necessary for summary judgment briefing is contradicted
 by the very fact that Freedom Mortgage did not rely on the manuals at all in the summary judgment motion it filed
 three days prior to Plaintiffs’ Opposition. Freedom Mortgage’s Motion for Summary Judgment was filed on
 September 13. The instant Opposition was filed on September 16.


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 disputes received through the consumer reporting agencies, including all details as to who

 conducts such disputes, the guidelines by which such disputes would be completed, all

 documents and records or other information considered in such investigation since June 2017.” 6

 Freedom designated Mark Phillips, Manager in Freedom Mortgage’s Customer Correspondence

 and Research Department as its 30(b)(6) witness. Supporting Declaration of Mark Phillips

 (“Phillips Dec.”) ¶ 5. Mr. Phillips oversees the investigation of credit reporting disputes at

 Freedom Mortgage. Id. ¶ 4. He prepared for the deposition, and the topic in particular, by

 reviewing these 10 procedures potentially at issue. Id. ¶ 6. He was prepared to testify as to the

 procedures. Id. However, Plaintiffs’ counsel failed to introduce any of the procedures as

 deposition exhibits. Id. ¶ 10. Furthermore, Plaintiffs’ counsel did not ask the 30(b)(6) witness a

 single question concerning the use of these procedures. Id. ¶ 9. Indeed, despite this pending

 Motion and Plaintiffs’ contention that the documents are not confidential, Plaintiffs’ counsel

 failed to address the issue during the deposition. However, Mr. Phillips confirms that each of the

 procedures in question are (1) proprietary to Freedom Mortgage; and (2) are treated as

 confidential within the company and have not been publicly disclosed. Id ¶¶ 7-8. Accordingly,

 these are confidential, proprietary documents and should be preserved as such under the

 protective order in this case.

                                     , Plaintiffs again fail to offer relevant authority supporting public

 disclosure of these documents. First, Plaintiffs offer two district court decisions where the court

 declined to enact a protective order for certain procedures for a Credit Reporting Agency.

 Zahran v. Trans Union Corp., 01-C-1700, 2002 WL 31010822 (N.D. Ill. Sept. 9, 2002); Ahern v.

 Trans Union LLC., 3:01-cv-2313, 2002 WL 32114492 (D. Conn. Oct. 23, 2002). That is not the

 6
  Attached as Exhibit 2 is a true and correct copy of Plaintiffs’ Supplemental Notice of Deposition Pursuant to Fed.
 R. Civ. P. 30(b)(6) Stating the Compromises Reached Between the Parties.


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 issue before this Court. A protective order has already been entered in this matter. Freedom

 Mortgage designated these proprietary procedures manuals as confidential and Plaintiffs’

 objected without explanation.

         Freedom Mortgage has explained how these documents are confidential, not available to

 the public, and contain proprietary information. The manuals at issue are just like those in

 Anderson v. Reliance Standard Life Ins. Co., No. 11-1188, 2012 WL 835722, at *3 (D. Md. Mar.

 9, 2012). There, the Court affirmed a finding that an insurance claims handling manual “is the

 type of commercial information that warrants a confidentiality agreement when it is produced for

 discovery.” Id. The court made this finding, even though the manual at issue had been produced

 without protection in another proceeding. Id. Here, not only do the manuals contain proprietary

 commercial information, they have not previously been publicly disclosed. Phillips Dec. ¶ 8.

         Finally, having failed to establish that the procedures are not confidential, Plaintiffs’

 arguments that the balance of interests favor public disclosure also fail. First, the procedures

 were not attached to Freedom Mortgage’s Motion for Summary Judgment, so Plaintiffs’

 argument that there will be unnecessary clutter in dispositive motion filings is completely

 without merit. 7 Furthermore, while Plaintiffs’ claim there is a strong public interest in disclosure

 in this case – the opposite is true. No party filed an opposition to the instant Motion, the Motion

 to Seal or the Motion to Seal Freedom Mortgage’s Motion for Summary Judgment. The lone

 party pushing for disclosure – without any basis for such disclosure – are Plaintiffs. And yet

 Plaintiffs themselves did not rely on the documents for any questions of Freedom Mortgage’s

 30(b)(6) witness. Plaintiffs fail to demonstrate how the documents are relevant to their case, let

 7
   Plaintiffs’ argument for preserving the docket from clutter rings particularly hollow given that Plaintiff filed
 duplicative oppositions for the Motion for Protective Order and Motion to Seal. Indeed, following Plaintiffs’ logic,
 Freedom Mortgage would have to publicly disclose its confidential documents in order to obtain a decision that its
 confidential documents were not subject to public disclosure.


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 alone why they should be publicly disclosed. The Court should grant Freedom Mortgage’s

 Motion for Protective Order.

        C.      Plaintiffs’ Opposition To The Motion To Seal Lacks Any Merit

        In order for Freedom Mortgage to have the Court confirm the confidential designations

 under the Protective Order, it needed to file a motion seeking such protection. As the motion

 itself disclosed the confidential documents at issue, Freedom Mortgage sought protection from

 public disclosure through a Motion to Seal. Indeed, it is axiomatic that Freedom Mortgage

 should not have to publicly disclose the contents of confidential documents in order to have the

 Court confirm their confidential nature. Such disclosure would defeat the very purpose of the

 motion.

        Indeed, a party who seeks to confirm confidential designations of documents under a

 protective order must either “produce competent evidence, in the form of affidavit testimony or

 the document itself” so that the Court may make a confidentiality determination. King v.

 Enterprise Leasing Co. of DFW, No. 3:05-cv-26, 2006 WL 8437324, at *1 (N.D. Tex. July 20,

 2006). In this case, Freedom Mortgage did both. First, it submitted the documents themselves

 so that the Court may review them in determining whether they are confidential. In order to do

 so, Freedom Mortgage filed a motion to seal the documents and the related references which

 disclosed confidential information in the documents. Furthermore, Freedom Mortgage provided

 argument concerning the confidentiality of the documents in its Motion for Protective Order and

 the Declaration of Mark Phillips. Finally, it is clear that Freedom Mortgage met the standard for

 sealing the documents as outlined by Magistrate Leonard in Hopeman Brothers v. Continental

 Casualty Co., 4:16-cv-187, 2017 WL 9481051, at *2 (E.D. Va. Dec. 22, 2017). It is “well-

 established in the Fourth Circuit, the Court may do [seal documents] only “if the public's right of



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 access is outweighed by competing interests.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th

 Cir. 2000).”

         To determine whether the interests in sealing the records outweigh First Amendment

 considerations, a court must engage in a three-part procedure: (1) the Court must provide public

 notice of the request to seal and allow interested parties a reasonable opportunity to object; (2)

 the Court must consider less drastic alternatives to sealing the documents; and (3) the Court must

 articulate specific reasons and factual findings supporting its decision to seal. Ashcraft, 218 F. 3d

 at 302. Here, no party other than Plaintiffs has objected. Next, there was no less drastic option

 for the Court to review these documents to determine their confidential nature other than

 Freedom Mortgage filing them under seal. Finally, the information is not generally available to

 the public, and there is no harm to Plaintiffs by having them simply comply with use of the

 documents under the entered Protective Order. Thus, the Motion to Seal should be granted.

      II.       CONCLUSION

         For all the foregoing reasons, Defendant Freedom Mortgage Corporation respectfully

 requests the entry of an Order: (a) granting Freedom Mortgage’s Motion to Seal Defendant’s

 Motion for Protective Order; (b) granting Defendant’s Motion for Protective Order Regarding

 Confidentiality Designations; and (c) granting such further relief in favor of Freedom Mortgage

 as this Court deems necessary and just.



                                               Respectfully submitted,


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  Date: September 23, 2019




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                                                       CERTIFICATE OF SERVICE

            I hereby certify that on September 23, 2019, I caused the foregoing Reply to be

  electronically filed with the Clerk of the Court, which caused it to be served on all counsel of

  record.



                                              /s/ Walter Buzzetta
                                              Walter J. Buzzetta




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